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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 MARCO VERCH,

                                Plaintiff,                    Docket No. 1:19-cv-8728

        - against -                                           JURY TRIAL DEMANDED

 COLUMBIA UNIVERSITY

                                Defendant.


                                          COMPLAINT

       Plaintiff Marco Verch (“Verch” or “Plaintiff”) by and through his undersigned counsel,

as and for his Complaint against Defendant Columbia University (“Columbia University” or

“Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of eye glasses with a laptop computer, owned and registered by Verch, a

professional photographer. Accordingly, Verch seeks monetary relief under the Copyright Act of

the United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant transacts

business in New York.
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       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Verch is a professional photographer in the business of licensing his photographs

to online and print media for a fee having a usual place of business at Eupener Str, 55f Koln,

50933 Germany.

       6.      Upon information and belief, Columbia University has a place of business at 535

West 116th Street, New York, New York 10027. At all times material, hereto, Columbia

University has operated a twitter page at the URL: www.Twitter.com/ColumbiaAlumniA (the

“Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Verch photographed eye glasses with a laptop computer (the “Photograph”). A

true and correct copy of the Photograph is attached hereto as Exhibit A.

       8.      Verch is the author of the Photograph and has at all times been the sole owner of

all right, title and interest in and to the Photograph, including the copyright thereto.

       10.     The Photograph was registered with the United States Copyright Office and was

given registration number VA 2-133-869.

       B.      Defendant’s Infringing Activities

11.    Columbia University ran the Photograph on the Website. See:

https://twitter.com/ColumbiaAlumniA/status/1098643589024886784

A screenshot of the Photograph on the Website is attached hereto as Exhibit B.
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          12.    Columbia University did not license the Photograph from Plaintiff for its article,

nor did Columbia University have Plaintiff’s permission or consent to publish the Photograph on

its Website.

                                CLAIM FOR RELIEF
                      (COPYRIGHT INFRINGEMENT AGAINST COLUMBIA)
                                (17 U.S.C. §§ 106, 501)

          13. Plaintiff incorporates by reference each and every allegation contained in Paragraphs

1-12 above.

          14. Columbia University infringed Plaintiff’s copyright in the Photograph by

reproducing and publicly displaying the Photograph on the Website. Columbia University is not,

and has never been, licensed or otherwise authorized to reproduce, publically display, distribute

and/or use the Photograph.

          15.    The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          16.    Upon information and belief, the foregoing acts of infringement by Columbia

University have been willful, intentional, and purposeful, in disregard of and indifference to

Plaintiff’s rights.

          17.    As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

    18.    Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work

          infringed for Defendant’s willful infringement of the Photograph, pursuant to 17 U.S.C.

          § 504(c).
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   19.        Plaintiff further is entitled to his attorney’s fees and full costs pursuant to 17 U.S.C. §

         505.

                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests judgment as follows:

         1.        That Defendant Columbia University be adjudged to have infringed upon

                   Plaintiff’s copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

         2.        Plaintiff be awarded either: a) Plaintiff’s actual damages and Defendant’s profits,

                   gains or advantages of any kind attributable to Defendant’s infringement of

                   Plaintiff’s Photograph; or b) alternatively, statutory damages of up to $150,000

                   per copyrighted work infringed pursuant to 17 U.S.C. § 504;

         3.        That Defendant be required to account for all profits, income, receipts, or other

                   benefits derived by Defendant as a result of its unlawful conduct;

         4.        That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to

                   17 U.S.C. § 505;

         5.        That Plaintiff be awarded pre-judgment interest; and

         6.        Such other and further relief as the Court may deem just and proper.

                                      DEMAND FOR JURY TRIAL

         Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       September 19, 2019
                                                                   LIEBOWITZ LAW FIRM, PLLC
                                                                   By: /s/Richard Liebowitz
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